  Case: 1:98-cr-00434 Document #: 342 Filed: 08/07/07 Page 1 of 3 PageID #:221



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
     Plaintiff-Appellee,                   )
                                           )
     v.                                    )     No.   98 CR 434-9
                                           )
MICHAEL BLACK,                             )
                                           )
     Defendant-Appellant.                  )

                             MEMORANDUM ORDER

     On July 31, 2007 this court issued a memorandum and

statement in connection with the notice of appeal that has been

filed by Michael Black (“Black”).          In part that memorandum

directed Black to comply with the provisions of 28 U.S.C. §1915

(“Section 1915”) if he were unable to pay the entire $455 in

appellate filing fees in advance and had to seek in forma

pauperis status.     Now this Court has received from the Court of

Appeals Black’s motion to proceed in that fashion, erroneously

filed in that court on August 3.         Unfortunately Black’s

submission is inadequate to permit this Court to make the Section

1915 calculation of Black’s required payment on account of the

filing fees.    Accordingly this memorandum order addresses that

subject.

     To begin with, Black’s motion to proceed on appeal in forma

pauperis--in the limited Section 1915 sense that the entire

filing fee need not be paid in advance--is being granted here

only if our Court of Appeals’ doctrine that requires more than a
  Case: 1:98-cr-00434 Document #: 342 Filed: 08/07/07 Page 2 of 3 PageID #:222



showing of financial inadequacy does not apply to Black’s

attempted appeal.     If instead the granting of in forma pauperis

status also depends on the existence of a nonfrivolous ground for

appeal, Black has not satisfied that requirement for the reasons

that this Court has previously stated in rejecting his current

effort to obtain a writ of audita querela.            This Court leaves

that subject to the Court of Appeals for its determination.

     As to the need for Section 1915 compliance, Black’s

affidavit has not been accompanied by a statement covering all

transactions in his prison trust fund account for the entire six-

month period preceding his notice of appeal (see Section

1915(a)(2)).    Instead the printout from Devens FMC, the federal

institution where he is now in custody, covers only the 3-1/2

month period from April 5, 2007 through July 24, 2007.                It is

unclear from that printout whether Black has been housed at

Devens for the entire period beginning January 25, 2007 (in which

case he must furnish a supplemental statement from that

institution covering the earlier portion of the six-month period)

or whether he was transferred there from some other institution

(in which event he must furnish both a statement from Devens

covering the entire post-January 25 period during which he has

been in custody there and a statement from the other institution

covering the earlier portion of the six-month period).

     Accordingly Black is ordered to provide the additional trust


                                       2
  Case: 1:98-cr-00434 Document #: 342 Filed: 08/07/07 Page 3 of 3 PageID #:223



fund account statement or statements referred to here on or

before August 24, 2007 to enable this Court to make the requisite

Section 1915 calculation.       In the meantime a copy of this

memorandum order is being transmitted to the Court of Appeals for

its information.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge

Date:   August 7, 2007




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